                                SALE NOTICE

BRONSON LAW OFFICES P.C.                     Sale Hearing Date: October 14, 2020
480 Mamaroneck Ave.                                            @ 10:00 a.m. (ET)
Harrison, NY 10528
Telephone: (914) 269-2530                Objection Deadline: October 13, 2020
Fax: (888) 908-6906                                          @ 4:00 p.m. (ET)
Counsel to Debtor
hbbronson@bronsonlaw.net                         Bid Deadline: October 9, 2020
                                                               @ 4:00 p.m. (EST)

                                         Potential Auction: October 11, 2020
                                                             @ 10:00 a.m. (EST)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                  x
In re                                            :    Chapter 11
                                                 :
EDISON PRICE LIGHTING, INC.,                     :    Case No. 20-22614 (RDD)
                                                 :
                                   Debtor.       :
                                                  x

NOTICE OF SALE WITH RESPECT TO CHAPTER 11 DEBTOR’S MOTION FOR AN
 ORDER PURSUANT TO 11 U.S.C. §§ 105(A), 363(B), (F), AND (M), AND 365, 503 AND
507 AND RULES 2002, 6004 AND 6006 OF THE FEDERAL RULES OF BANKRUPTCY
  PROCEDURE: (I) (A) APPROVING BIDDING PROCEDURES FOR THE SALE OF
 ALL OR SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS, (B) AUTHORIZING
  AND APPROVING ENTRY INTO THE STALKING HORSE APA, (C) APPROVING
   THE DESIGNATION OF THE BUYER AS THE STALKING HORSE BIDDER, (D)
    APPROVING BID PROTECTIONS, (E) SCHEDULING A SALE HEARING, (F)
   APPROVING THE FORM, MANNER AND EXTENT OF NOTICE OF THE SALE
 PROCESS, AND (G) APPROVING CONTRACT ASSUMPTION AND ASSIGNMENT
PROCEDURES; AND (II) (A) APPROVING THE SALE OF ALL OR SUBSTANTIALLY
   ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR OF LIENS, CLAIMS AND
           ENCUMBRANCES, AND (B) GRANTING RELATED RELIEF

TO ALL CREDITORS AND PARTIES IN INTEREST, THE OFFICE OF THE UNITED
STATES DEBTOR, AND ALL OTHER PARTIES ENTITLED TO NOTICE PURSUANT
TO FED. R. BANKR. P. 2002:
        PLEASE TAKE NOTICE that on October 6, 2020, the United States Bankruptcy Court
for the Southern District of New York (the “Court”) approved the motion (the “Motion”)1 of the
Debtor (the “Debtor”) of the estate of (i) EDISON PRICE LIGHTING INC., (the “Debtor”)
seeking an Order (a) authorizing the Debtor to conduct a process for the sale of all or
substantially all of the Debtors’ assets, free and clear of all liens, claims, encumbrances, and
interests, pursuant to section 363 of title 11 of the United States Code (the “Bankruptcy Code”),

(b) approving the Bidding Procedures annexed to the Bidding Procedures Order as Exhibit “1”;
(c) approving the Debtor’s entry into the Stalking Horse APA annexed to the Bidding Procedures
Order as Exhibit “3”, (d) approving bidding protections, (e) scheduling an Auction and Sale
Hearing, (f) establishing Assignment Procedures for the assumption and assignment of the
Debtors’ executory contracts or unexpired leases and the fixing of Cure Amounts, (g) approving
this Sale Notice, and (h) approving the Notice of Assignment and Cures [Docket No. 110 ] (the
“Bidding Procedures Order”).

       PLEASE TAKE FURTHER NOTICE that the Motion, Bidding Procedures Order and
Stalking Horse APA have been filed electronically with the Clerk of the United States Bankruptcy
Court for the Southern District of New York, and may be reviewed by all registered users of the
Court’s website at http://ecf.nysb.uscourts.gov. Copies of the Motion, Bidding Procedures Order
and Stalking Horse APA can also be obtained by telephonic, written, or e-mail request to the
undersigned general counsel to the Debtor, Attn: H. Bruce Bronson (Telephone: (914) 269-2530
or e-mail: hbbronson@bronsonlaw.net).

        PLEASE TAKE FURTHER NOTICE that a Bid for the purchase of the Debtors’ assets
must conform to the Bidding Procedures and be delivered in written form to: counsel to the Debtor,
Bronson Law Offices, P.C., 480 Mamaroneck Ave., Harrison, NY 10528 Attn: H. Bruce Bronson,
so as to be actually received no later than 4:00 p.m. (prevailing Eastern Time) on the Bid Deadline
of October 9, 2020.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures, if an
Auction for the sale of the Debtors’ assets is conducted, it will take place at the offices of Bronson
Law Offices, P.C., 480 Mamaroneck Ave., Harrison, NY 10528, on October 11, 2020, starting
at 10:00 a.m. (prevailing Eastern Time), or at such other date and time or other place as may be
determined by the Debtor at or prior to the Auction.

       PLEASE TAKE FURTHER NOTICE that a hearing with respect to the Motion has been
scheduled to be held before the Honorable Robert D. Drain, United States Bankruptcy Judge, at
the United States Bankruptcy Court for the Southern District of New York, 300 Quarropas Street,
White Plains, NY 10601-4140, on October 14, 2020 at 10:00 a.m. to the extent seeking an Order
(a) approving the Stalking Horse APA or such other Purchase Agreement entered into with a
Successful Bidder in accordance with the Bidding Procedures, (b) approving the sale of the
Debtor’s assets to the Stalking Horse Bidder or the Successful Bidder, (c) authorizing the
assumption and assignment of the Assigned Contracts previously noticed in the Motion, and (d)
granting related relief (the “Sale Hearing”).

1
 Terms capitalized but not defined herein shall have the meanings assigned to them in the Motion, The Bidding
Procedures Order, the Bid Procedures or Stalking Horse APA.


                                Transaction Procedures Order Exhibit 2-2
        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought in the
Motion to be considered at the Sale Hearing (an “Objection”) shall be made in writing, filed with
the Court by registered users of the Court’s electronic case filing system and, by all other parties
in interest, mailed to the Clerk of the United States Bankruptcy Court, Southern District of New
York, 300 Quarropas Street, White Plains, NY 10601-4140, on a compact disc, preferably in
Portable Document Format (PDF), Microsoft Word, or any other Windows-based word processing
format (with a hard copy delivered directly to the Chambers of the Honorable Robert D. Drain,
United States Bankruptcy Judge, United States Bankruptcy Court, Southern District of New York,
300 Quarropas Street, White Plains, NY 10601-4140), and served upon (i) counsel for the Debtor,
Bronson Law Offices, P.C., 480 Mamaroneck Ave., Harrison, NY 10528 (Attn: H. Bruce Bronson,
Esq., hbbronson@bronsonlaw.net), (ii) counsel to the Lender,., Thompson & Knight, LLP, 900
Third Avenue, 20th Floor, New York, NY 10022 (Attn:Stuart Glick, stuart.glick@tklaw.com and
Anthony Pirraglia, anthony.Pirraglia@tklaw.com), (iii) counsel to the Stalking Horse Bidder,
Fredrickson & Byron, P.A. 200 South Sixth Street, Suite 4000, Minneapolis, MN55402 (Attn:
Clinton Cutler, ccutler@fredlaw.com) and (iv) the Office of the United States Debtor for the
Southern District of New York, U.S. Federal Office Building, 201 Varick Street, Room 1006, New
York, NY 10014 (Attn: Andrea B. Schwartz, Esq.), so as to be actually received no later than
4:00p.m. on October 13, 2020 (the “Objection Deadline”).


 Dated: Harrison, New York
        October 6, 2020
                                                    BRONSON LAW OFFICES P.C.


                                              By:/s/ H. Bruce Bronson
                                                   H. Bruce Bronson
                                                   Counsel to the Debtor




                            Transaction Procedures Order Exhibit 2-3
